                            Case 18-10512-KBO            Doc 3332         Filed 05/13/22         Page 1 of 2


                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

                                                                         )      Chapter 11
             In re:                                                      )
                                                                         )      Case No. 18-10512 (KBO)
             Zohar III, Corp., et al.,1                                  )
                                                                         )      Jointly Administered
                                                Debtors.                 )
                                                                         )      Ref. Docket Nos. 3233, 3235 & 3239
                                                                         )

                               NOTICE OF IN-PERSON CONFIRMATION HEARING

                 PLEASE TAKE NOTICE that, on April 8, 2022, the above-captioned debtors and debtors
         in possession (collectively, the “Debtors”) filed the Notice of Order (I) Approving the Disclosure
         Statement; (II) Approving Solicitation and Voting Procedures, Including (A) Fixing the Record
         Date, (B) Approving the Solicitation Packages and Procedures for Distribution, (C) Approving
         the Form of Ballots and Establishing Procedures for Voting, and (D) Approving Procedures for
         Vote Tabulation; (III) Scheduling a Confirmation Hearing and Establishing Notice and Objection
         Procedures; and (IV) Granting Related Relief [Docket No. 3247] (the “Confirmation Hearing
         Notice”),2 thereby providing notice that a hearing (the “Confirmation Hearing”) to consider
         Confirmation of the Plan is scheduled for June 1, 2022 at 9:00 a.m. (ET) before the Honorable
         Karen B. Owens, United States Bankruptcy Judge, at the United States Bankruptcy Court for the
         District of Delaware, 824 Market Street, 6th Floor, Courtroom No. 3.

                PLEASE TAKE FURTHER NOTICE that, at the direction of the Court, the
         Confirmation Hearing will be conducted in person; however, attendance by Zoom will be
         permitted under the following circumstances:

                      (1)    a party or person intends to make only limited argument;

                      (2)    a party or person is interested in monitoring the court’s proceedings;

                      (3)    an attorney or witness who would otherwise be required to attend in person has a
                             good faith health-related reason, and such attorney or witness has obtained
                             permission to participate remotely from the Court by contacting Judge Owens’s
                             courtroom deputy; or

                      (4)    other extenuating circumstances, as determined by Judge Owens.




         1
            The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as follows: Zohar
         III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III, Limited (9261), Zohar
         II 2005-1, Limited (8297), and Zohar CDO 2003-1, Limited (5119). The Debtors’ address is c/o FTI Consulting, Inc.,
         1166 Avenue of the Americas, 15th Floor, New York, NY 10036.
         2
          Capitalized terms used but not otherwise defined herein shall have meanings given to such terms in the Confirmation
         Hearing Notice.
29353559.1
                       Case 18-10512-KBO         Doc 3332      Filed 05/13/22     Page 2 of 2


               If there is a change, the Debtors will file a subsequent notice or indicate in the forthcoming
         Agenda for the Confirmation Hearing.



             Dated: May 13, 2022                YOUNG CONAWAY STARGATT & TAYLOR, LLP
                    Wilmington, Delaware
                                                /s/ Shane M. Reil
                                                James L. Patton, Jr. (No. 2202)
                                                Robert S. Brady (No. 2847)
                                                Michael R. Nestor (No. 3526)
                                                Joseph M. Barry (No. 4421)
                                                Ryan M. Bartley (No. 4985)
                                                Shane M. Reil (No. 6195)
                                                Rodney Square
                                                1000 North King Street
                                                Wilmington, Delaware 19801
                                                Telephone: (302) 571-6600
                                                Facsimile: (302) 571-1253
                                                Email: jpatton@ycst.com
                                                        rbrady@ycst.com
                                                        mnestor@ycst.com
                                                        jbarry@ycst.com
                                                        rbartley@ycst.com
                                                        sreil@ycst.com

                                                Counsel to the Debtors and Debtors in Possession




29353559.1
                                                          2
